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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                    8:94CR95
                                          )
             V.                           )
                                          )
MICHAEL J. CRESTONI,                      )                     ORDER
                                          )
                    Defendant.            )

      IT IS ORDERED THAT:


      (1)    The defendant’s motion to modify detention order (filing 774) is granted.


      (2)    The defendant shall be released from Valley Hope to the Farnam House, a
three quarters house in Omaha, Nebraska. The defendant shall participate in continued
outpatient drug and alcohol treatment and anger management.


      (3)    The defendant shall abide by all conditions of supervised release previously
imposed.

      January 5, 2009.

                                         BY THE COURT:

                                         S/Richard G. Kopf
                                         United States District Judge
